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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:hobbsvcityofsalidano24sc216september30,2024"&gt;&lt;p class="ldml-metadata"&gt;
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 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Matthew K. Hobbs&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;City of Salida&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Christy Doon&lt;/span&gt;&lt;/span&gt;, in her official capacity as &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;City of Salida&lt;/span&gt; &lt;span class="ldml-role"&gt;Administrator&lt;/span&gt;&lt;/span&gt;; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Giant Hornet LLC&lt;/span&gt;&lt;/span&gt; d/b/a &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;High Side! Bar and Grill&lt;/span&gt;. &lt;span class="ldml-role"&gt;Respondents&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SC216&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;September 30, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="265" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="265" data-sentence-id="282" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_282"&gt;&lt;span class="ldml-cite"&gt;Case No. 23CA73&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="321" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="321" data-sentence-id="337" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Writ&lt;/span&gt; of Certiorari GRANTED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="384" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="384" data-sentence-id="400" class="ldml-sentence"&gt;Whether
 under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_400"&gt;&lt;span class="ldml-cite"&gt;subsection 25-12-103&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; the City may excuse violations
 of statewide noise limits set in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="legislation" data-prop-ids="sentence_400"&gt;&lt;span class="ldml-cite"&gt;Colorado's Noise
 Abatement Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; by permitting for-profit entities to exceed the
 limits when holding &lt;span class="ldml-quotation quote"&gt;"cultural, entertainment, athletic,
 or patriotic events"&lt;/span&gt; on private property, or are such
 permits invalid under &lt;span class="ldml-entity"&gt;the Act&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
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